
6 N.Y.2d 962 (1959)
Columbia Broadcasting System, Inc., Appellant,
v.
Patrick A. McDonough, as President of Blueprint, Photostat and Photo Employees Union, Local 24910, AFL-CIO, et al., Respondents.
Court of Appeals of the State of New York.
Argued May 25, 1959.
Decided July 8, 1959.
Emanuel Dannett, Herbert D. Schwartzman and Bernard Buchholz for appellant.
Everett E. Lewis and Melvin Warshaw for respondents.
Concur: Chief Judge CONWAY and Judges DESMOND, DYE, FULD, FROESSEL, VAN VOORHIS and BURKE.
Order affirmed, with costs. Question certified answered in the negative. No opinion.
